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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       :
                                                             :         Chapter 11
                                                             :
SKILLSOFT CORPORATION, et al.                                :         Case No. 20–11532 (MFW)
                                                             :
                             1
                  Debtors.                                   :         (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                     NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                   TELEPHONIC HEARING ON JULY 7, 2020 AT 2:00 P.M. (ET) 2


         THIS HEARING WILL BE HELD TELEPHONICALLY AND BY VIDEO.
        ALL PARTIES WISHING TO APPEAR MUST DO SO TELEPHONICALLY
               BY CONTACTING COURTCALL, LLC AT 866-582-6878
                 NO LATER THAN JULY 6, 2020 AT 12:00 P.M. (ET).

           ONLY THOSE PARTIES THAT WILL BE ADDRESSING THE COURT
                  SHOULD APPEAR BY ZOOM AND COURTCALL.

    PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM MEETING WILL BE
        MUTED AND THE ONLY AUDIO WIIL BE THROUGH COURTCALL.

                     TO APPEAR BY VIDEO CONFERENCE,
             PARTIES SHOULD USE THE FOLLOWING INFORMATION:
         JOIN ZOOMGOV MEETING: https://debuscourts.zoomgov.com/j/1611083959
                  MEETING ID: 161 108 3959 PASSWORD: 342734




1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are Skillsoft Corporation (6115); Amber Holding Inc. (0335); SumTotal Systems
     LLC (7228); MindLeaders, Inc. (6072); Accero, Inc. (4684); CyberShift Holdings, Inc. (2109); CyberShift, Inc.
     (0586); Pointwell Limited; SSI Investments I Limited; SSI Investments II Limited; SSI Investments III Limited;
     Skillsoft Limited; Skillsoft Ireland Limited; ThirdForce Group Limited; Skillsoft U.K. Limited; and Skillsoft
     Canada, Ltd. The location of the Debtors’ corporate U.S. headquarters is 300 Innovative Way, Suite 201,
     Nashua, NH 03062.
2
     All motions and other pleadings referenced herein are available online at the following address:
     www.kccllc.net/skillsoft.



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I.       MATTERS    WITH    CERTIFICATES                    OF     NO      OBJECTION        OR
         CERTIFICATIONS OF COUNSEL:

1.       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to
         Pay Certain Prepetition Taxes and Fees, and (II) Granting Related Relief [Docket No.
         3 – filed June 14, 2020]

         Objection/Response Deadline:          June 30, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:        None

         Related Documents:

         i.        Declaration of John Frederick in Support of Debtors’ Chapter 11 Petitions and
                   First Day Relief [Docket No. 22 – filed June 15, 2020]

         ii.       Supplemental Declaration of John Frederick in Support of Debtors’ Chapter
                   11 Petitions and First Day Relief [Docket No. 51 – filed June 16, 2020]

         iii.      Interim Order (I) Authorizing Debtors to Pay Certain Prepetition Taxes and
                   Fees, and (II) Granting Related Relief [Docket No. 74 – entered June 16,
                   2020]

         iv.       Notice of (A) Entry of Interim Order (I) Authorizing Debtors to Pay Center
                   Prepetition Taxes and Fees, and (II) Granting Related Relief, and (B) Final
                   Hearing Thereon [Docket No. 90 – filed June 16, 2020]

         v.        Certificate of No Objection Regarding Motion of Debtors for Entry of Interim
                   and Final Orders (I) Authorizing Debtors to Pay Certain Prepetition Taxes
                   and Fees, and (II) Granting Related Relief [Docket No. 143 – filed July 2,
                   2020]

         Status: On July 2, 2020, the Debtors filed a certificate of no objection regarding this
                 matter. Accordingly, a hearing regarding this matter is not required.

2.       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to
         (A) Pay Prepetition Wages, Salaries, Reimbursable Expenses, and Other Obligations
         on Account of Compensation and Benefits Programs and (B) Continue Compensation
         and Benefits Programs and (II) Granting Related Relief [Docket No. 4 – filed June
         14, 2020]

         Objection/Response Deadline:          June 30, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:        None

         Related Documents:




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         i.        Declaration of John Frederick in Support of Debtors’ Chapter 11 Petitions and
                   First Day Relief [Docket No. 22 – filed June 15, 2020]

         ii.       Supplemental Declaration of John Frederick in Support of Debtors’ Chapter
                   11 Petitions and First Day Relief [Docket No. 51 – filed June 16, 2020]

         iii.      Interim Order   (I) Authorizing Debtors to (A) Pay Prepetition Wages, Salaries,
                   Reimbursable    Expenses, and Other Obligations on Account of Compensation
                   and Benefits     Programs and (B) Continue Compensation and Benefits
                   Programs and    (II) Granting Related Relief [Docket No. 75 – entered June 16,
                   2020]

         iv.       Notice of (1) Entry of Interim Order (I) Authorizing Debtors to (A) Pay
                   Prepetition Wages, Salaries, Reimbursable Expenses, and Other Obligations
                   on Account of Compensation and Benefits Programs and (B) Continue
                   Compensation and Benefits Programs and (II) Granting Related Relief; and
                   (2) Final Hearing Thereon [Docket No. 89 – filed June 16, 2020]

         v.        Certificate of No Objection Regarding Motion of Debtors for Entry of Interim
                   and Final Orders (I) Authorizing Debtors to (A) Pay Prepetition Wages,
                   Salaries, Reimbursable Expenses, and Other Obligations on Account of
                   Compensation and Benefits Programs and (B) Continue Compensation and
                   Benefits Programs and (II) Granting Related Relief [Docket No. 145 – filed
                   July 2, 2020]

         Status: On July 2, 2020, the Debtors filed a certificate of no objection regarding this
                 matter. Accordingly, a hearing regarding this matter is not required.

3.       Motion of Debtors for Entry of Interim and Final Orders (I) Approving Debtors’
         Proposed Form of Adequate Assurance of Payment to Utility Providers, (II)
         Establishing Procedures for Determining Adequate Assurance of Payment for Future
         Utility Services, (III) Prohibiting Utility Providers from Altering, Refusing, or
         Discontinuing Utility Service, and (IV) Granting Related Relief [Docket No. 6 – filed
         June 14, 2020]

         Objection/Response Deadline:           June 30, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:         None

         Related Documents:

         i.        Declaration of John Frederick in Support of Debtors’ Chapter 11 Petitions and
                   First Day Relief [Docket No. 22 – filed June 15, 2020]

         ii.       Supplemental Declaration of John Frederick in Support of Debtors’ Chapter
                   11 Petitions and First Day Relief [Docket No. 51 – filed June 16, 2020]



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         iii.      Interim Order (I) Approving Debtors’ Proposed Form of Adequate Assurance
                   of Payment to Utility Providers, (II) Establishing Procedures for Determining
                   Adequate Assurance of Payment for Future Utility Services, (III) Prohibiting
                   Utility Providers from Altering, Refusing, or Discontinuing Utility Service,
                   and (IV) Granting Related Relief [Docket No. 77 – entered June 16, 2020]

         iv.       Notice of (1) Entry of Interim Order (I) Approving Debtors’ Proposed Form
                   of Adequate Assurance of Payment to Utility Providers, (II) Establishing
                   Procedures for Determining Adequate Assurance of Payment for Future
                   Utility Services, (III) Prohibiting Utility Providers from Altering, Refusing,
                   or Discontinuing Utility Service, and (IV) Granting Related Relief; and (2)
                   Final Hearing Thereon [Docket No. 92 – filed June 16, 2020]

         v.        Certificate of No Objection Regarding Motion of Debtors for Entry of Interim
                   and Final Orders (I) Approving Debtors’ Proposed Form of Adequate
                   Assurance of Payment to Utility Providers, (II) Establishing Procedures for
                   Determining Adequate Assurance of Payment for Future Utility Services, (III)
                   Prohibiting Utility Providers from Altering, Refusing, or Discontinuing
                   Utility Service, and (IV) Granting Related Relief [Docket No. 137 – filed July
                   1, 2020]

         Status: On July 1, 2020, the Debtors filed a certificate of no objection regarding this
                 matter. Accordingly, a hearing regarding this matter is not required.

4.       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to
         (A) Continue to Maintain Their Insurance Policies and Programs, (B) Honor All
         Insurance Obligations, and (C) Modify the Automatic Stay with Respect to the
         Workers’ Compensation Program, and (II) Granting Related Relief [Docket No. 7 –
         filed June 14, 2020]

         Objection/Response Deadline:          June 30, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:        None

         Related Documents:

         i.        Declaration of John Frederick in Support of Debtors’ Chapter 11 Petitions and
                   First Day Relief [Docket No. 22 – filed June 15, 2020]

         ii.       Supplemental Declaration of John Frederick in Support of Debtors’ Chapter
                   11 Petitions and First Day Relief [Docket No. 51 – filed June 16, 2020]

         iii.      Interim Order (I) Authorizing Debtors to (A) Continue to Maintain Their
                   Insurance Policies and Programs, (B) Honor All Insurance Obligations, and
                   (C) Modify the Automatic Stay with Respect to the Workers’ Compensation
                   Program, and (II) Granting Related Relief [Docket No. 76 – entered June 16,
                   2020]


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         iv.       Notice of (1) Entry of Interim Order (I) Authorizing Debtors to (A) Continue
                   to Maintain Their Insurance Policies and Programs, (B) Honor All Insurance
                   Obligations, and (C) Modify the Automatic Stay with Respect to the Workers’
                   Compensation Program, and (II) Granting Related Relief [Docket No. 91 –
                   filed June 16, 2020]

         v.        Certificate of No Objection Regarding Motion of Debtors for Entry of Interim
                   and Final Orders (I) Authorizing Debtors to (A) Continue to Maintain Their
                   Insurance Policies and Programs, (B) Honor All Insurance Obligations, and
                   (C) Modify the Automatic Stay with Respect to the Workers’ Compensation
                   Program, and (II) Granting Related Relief [Docket No. 142 – filed July 2,
                   2020]

         Status: On July 2, 2020, the Debtors filed a certificate of no objection regarding this
                 matter. Accordingly, a hearing regarding this matter is not required.

5.       Motion of Debtors Pursuant to 11 U.S.C. §§ 105 and 107, Fed. R. Bankr. P. 9018 and
         Del. Bankr. L.R. 9018-1 for Entry of Interim and Final Orders Authorizing the
         Debtors to File (I) Portions of the Creditor Matrix Under Seal and (II) the
         Commercial Information and the Personal Information in Future Filings Under Seal
         [Docket No. 8 – filed June 14, 2020]

         Objection/Response Deadline:          June 30, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:        None

         Related Documents:

         i.        Notice of Filing of Proposed Redacted Version of the Creditor Matrix [Docket
                   No. 15 – filed June 15, 2020]

         ii.       Notice of Filing of Sealed Version of the Creditor Matrix [Docket No. 14 –
                   filed June 15, 2020]

         iii.      Declaration of John Frederick in Support of Debtors’ Chapter 11 Petitions and
                   First Day Relief [Docket No. 22 – filed June 15, 2020]

         iv.       Supplemental Declaration of John Frederick in Support of Debtors’ Chapter
                   11 Petitions and First Day Relief [Docket No. 51 – filed June 16, 2020]

         v.        Certification of Counsel Regarding Interim Order Pursuant to 11 U.S.C. §§
                   105 and 107, Fed. R. Bankr. P. 9018 and Del. Bankr. L.R. 9018-1 Authorizing
                   the Debtors to File (I) Portions of the Creditor Matrix Under Seal and (II) the
                   Commercial Information and the Personal Information in Future Filings
                   Under Seal [Docket No. 96 – filed June 16, 2020]

         vi.       Interim Order Pursuant to 11 U.S.C. §§ 105 and 107, Fed. R. Bankr. P. 9018
                   and Del. Bankr. L.R. 9018-1 Authorizing the Debtors to File (I) Portions of

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                   the Creditor Matrix Under Seal and (II) the Commercial Information and the
                   Personal Information in Future Filings Under Seal [Docket No. 103 – entered
                   June 17, 2020]

         vii.      Notice of (A) Entry of Interim Order Pursuant to 11 U.S.C. §§ 105 and 107,
                   Fed. R. Bankr. P. 9018 and Del. Bankr. L.R. 9018-1 Authorizing the Debtors
                   to File (I) Portions of the Creditor Matrix Under Seal and (II) the Commercial
                   Information and the Personal Information in Future Filings Under Seal; and
                   (B) Final Hearing Thereon [Docket No. 109 – filed June 17, 2020]

         viii.     Certification of Counsel Regarding Final Order Pursuant to 11 U.S.C. §§ 105
                   and 107, Fed. R. Bankr. P. 9018 and Del. Bankr. L.R. 9018-1 Authorizing the
                   Debtors to File (I) Portions of the Creditor Matrix Under Seal and (II) the
                   Commercial Information and the Personal Information in Future Filings
                   Under Seal [Docket No. 146 – filed July 2, 2020]

         Status: On July 2, 2020, the Debtors filed a revised final order under certification of
                 counsel. Accordingly, a hearing regarding this matter is not required.

6.       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors
         to Pay Prepetition Trade Claims in Ordinary Course of Business and (II) Granting
         Related Relief [Docket No. 9 – filed June 15, 2020]

         Objection/Response Deadline:          June 30, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:        None

         Related Documents:

         i.        Declaration of John Frederick in Support of Debtors’ Chapter 11 Petitions and
                   First Day Relief [Docket No. 22 – filed June 15, 2020]

         ii.       Supplemental Declaration of John Frederick in Support of Debtors’ Chapter
                   11 Petitions and First Day Relief [Docket No. 51 – filed June 16, 2020]

         iii.      Interim Order (I) Authorizing the Debtors to Pay Prepetition Trade Claims in
                   Ordinary Court of Business and (II) Granting Related Relief [Docket No. 78 –
                   entered June 16, 2020]

         iv.       Notice of (1) Entry of Interim Order (I) Authorizing the Debtors to Pay
                   Prepetition Trade Claims in Ordinary Court of Business and (II) Granting
                   Related Relief; and (2) Final Hearing Thereon [Docket No. 93 – filed June 16,
                   2020

         v.        Certificate of No Objection Regarding Motion of Debtors for Entry of Interim
                   and Final Orders (I) Authorizing the Debtors to Pay Prepetition Trade Claims
                   in Ordinary Course of Business and (II) Granting Related Relief [Docket No.
                   144 – filed July 2, 2020]

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         Status: On July 2, 2020, the Debtors filed a certificate of no objection regarding this
                 matter. Accordingly, a hearing regarding this matter is not required.

7.       Motion of Debtors for Entry of an Order (I) Establishing Procedures for Interim
         Compensation and Reimbursement of Expenses of Professionals and (II) Granting
         Related Relief [Docket No. 121 – filed June 23, 2020]

         Objection/Response Deadline:         June 30, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:       None

         Related Documents:

         i.        Certificate of No Objection Regarding Motion of Debtors for Entry of an
                   Order (I) Establishing Procedures for Interim Compensation and
                   Reimbursement of Expenses of Professionals and (II) Granting Related Relief
                   [Docket No. 147 – filed July 2, 2020]

         Status: On July 2, 2020, the Debtors filed a certificate of no objection regarding this
                 matter. Accordingly, a hearing regarding this matter is not required.

8.       Motion of Debtors for Authority to Employ Professionals Utilized in the Ordinary
         Course of Business [Docket No. 122 – filed June 23, 2020]

         Objection/Response Deadline:         June 30, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:       None

         Related Documents:

         i.        Certificate of No Objection Regarding Motion of Debtors for Authority to
                   Employ Professionals Utilized in the Ordinary Course of Business [Docket
                   No. 148 – filed July 2, 2020]

         Status: On July 2, 2020, the Debtors filed a certificate of no objection regarding this
                 matter. Accordingly, a hearing regarding this matter is not required.

II.      MATTERS GOING FORWARD:

9.       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to
         (A) Continue Existing Cash Management System, (B) Honor Certain Prepetition
         Obligations Related to the Use Thereof, and (C) Continue Intercompany
         Transactions and Provide Administrative Expense Priority for Postpetition
         Intercompany Claims; (II) Extending Time to Comply with 11 U.S.C. § 345(b); and
         (III) Granting Related Relief [Docket No. 10 – filed June 15, 2020]

         Objection/Response Deadline:         June 30, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:

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         A.        Informal comments from CIT Bank, N.A.

         Related Documents:

         i.        Declaration of John Frederick in Support of Debtors’ Chapter 11 Petitions and
                   First Day Relief [Docket No. 22 – filed June 15, 2020]

         ii.       Supplemental Declaration of John Frederick in Support of Debtors’ Chapter
                   11 Petitions and First Day Relief [Docket No. 51 – filed June 16, 2020]

         iii.      Interim Order (I) Authorizing Debtors to (A) Continue Existing Cash
                   Management System, (B) Honor Certain Prepetition Obligations Related to
                   the Use Thereof, and (C) Continue Intercompany Transactions and Provide
                   Administrative Expense Priority for Postpetition Intercompany Claims; (II)
                   Extending Time to Comply with 11 U.S.C. § 345(b); and (III) Granting
                   Related Relief [Docket No. 85 – entered June 16, 2020]

         iv.       Notice of (1) Entry of Interim Order (I) Authorizing Debtors to (A) Continue
                   Existing Cash Management System, (B) Honor Certain Prepetition
                   Obligations Related to the Use Thereof, and (C) Continue Intercompany
                   Transactions and Provide Administrative Expense Priority for Postpetition
                   Intercompany Claims; (II) Extending Time to Comply with 11 U.S.C. §
                   345(b); and (III) Granting Related Relief; and (2) Final Hearing Thereon
                   [Docket No. 94 – entered June 16, 2020]

         Status: The Debtors are working to resolve the informal comments of CIT Bank, N.A..
                 At this time, the hearing on this matter is going forward.

10.      Motion of Debtors for Entry of Orders (I) Authorizing Debtors to (A) Obtain
         Postpetition Senior Secured Superpriority Financing and (B) Use Cash Collateral,
         (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Granting Liens
         and Superpriority Claims, (IV) Modifying the Automatic Stay, (V) Scheduling a
         Final Hearing, (VI) Granting Related Relief [Docket No. 19 – filed June 15, 2020]

         Objection/Response Deadline:          June 30, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:        None

         Related Documents:

         i.        Declaration of Christopher A. Wilson in Support of Motion of Debtors for
                   Entry of Orders (I) Authorizing Debtors to (A) Obtain Postpetition Senior
                   Secured Superpriority Financing and (B) Use Cash Collateral, (II) Granting
                   Adequate Protection to Prepetition Secured Parties, (III) Granting Liens and
                   Superpriority Claims, (IV) Modifying the Automatic Stay, (V) Scheduling a
                   Final Hearing, (VI) Granting Related Relief [Docket No. 20 – filed June 15,
                   2020]


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         ii.       Declaration of John Frederick in Support of Debtors’ Chapter 11 Petitions and
                   First Day Relief [Docket No. 22 – filed June 15, 2020]

         iii.      Notice of Filing Confidential Proposed Debtor-in-Possession Financing Fee
                   Letters Under Seal [Docket No. 30 – filed June 15, 2020]

         iv.       Notice of Filing of Proposed Redacted Versions of the Debtor-in-Possession
                   Financing Fee Letters [Docket No. 31 – filed June 15, 2020]

         v.        Supplemental Declaration of John Frederick in Support of Debtors’ Chapter
                   11 Petitions and First Day Relief [Docket No. 51 – filed June 16, 2020]

         vi.       Interim Order (I) Authorizing Debtors to (A) Obtain Postpetition Financing
                   and (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority
                   Administrative Expense Claims, (III) Granting Adequate Protection to
                   Prepetition Secured Parties, (IV) Modifying Automatic Stay, (V) Scheduling
                   Final Hearing, and (VI) Granting Related Relief [Docket No. 86 – entered
                   June 16, 2020]

         vii.      Order Pursuant to 11 U.S.C. §§ 105 and 107, Fed. R. Bankr. P. 9018, and Del.
                   Bankr. L.R. 9018-1 Authorizing the Debtors to File the Proposed Debtor-in-
                   Possession Financing Fee Letters Under Seal [Docket No. 87 – entered June
                   16, 2020]

         viii.     Notice of (1) Entry of Interim Order (I) Authorizing Debtors to (A) Obtain
                   Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens
                   and Superpriority Administrative Expense Claims, (III) Granting Adequate
                   Protection to Prepetition Secured Parties, (IV) Modifying Automatic Stay, (V)
                   Scheduling Final Hearing, and (VI) Granting Related Relief; and (2) Final
                   Hearing Thereon [Docket No. 95 – filed June 16, 2020]

         Status: The hearing on this matter is going forward.




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Dated: July 2, 2020
       Wilmington, Delaware


                                   /s/ Amanda R. Steele
                                   RICHARDS, LAYTON & FINGER, P.A.
                                   Mark D. Collins (No. 2981)
                                   Amanda R. Steele (No. 5530)
                                   Christopher M. De Lillo (No. 6355)
                                   One Rodney Square
                                   910 North King Street
                                   Wilmington, Delaware 19801
                                   Telephone: (302) 651-7700
                                   Facsimile: (302) 651-7701
                                   Email: collins@rlf.com
                                          steele@rlf.com
                                          delillo@rlf.com

                                   -and-

                                   WEIL, GOTSHAL & MANGES LLP
                                   Gary T. Holtzer (admitted pro hac vice)
                                   Robert J. Lemons (admitted pro hac vice)
                                   Katherine Theresa Lewis (admitted pro hac vice)
                                   767 Fifth Avenue
                                   New York, New York 10153
                                   Telephone: (212) 310-8000
                                   Facsimile: (212) 310-8007
                                   Email: gary.holtzer@weil.com
                                          robert.lemons@weil.com
                                          katherine.lewis@weil.com

                                   Proposed Attorneys for Debtors
                                   and Debtors in Possession




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